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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO


Civil Action No. 20-cv-01878-RBJ
Consolidated with No. 20-cv-01922-RBJ

ELISABETH EPPS,
ASHLEE WEDGEWORTH,
AMANDA BLASINGAME,
MAYA ROTHLEIN,
ZACH PACKARD,
HOLLIS LYMAN,
CIDNEY FISK,
STANFORD SMITH,
SARA FITOURI,
JACQUELYN PARKINS,
KELSEY TAYLOR,
JOE DERAS, and
CLAIRE SANNIER,


      Plaintiffs,

v.

CITY AND COUNTY OF DENVER,
JONATHAN CHRISTIAN,
KEITH VALENTINE,
ANTHONY HAMILTON,
TIMOTHY DREITH,
CITY OF AURORA,
MATTHEW BRUKBACHER,
PATRICIO SERRANT,
DAVID MCNAMEE, and
CORY BUDAJ,

      Defendants.




                                  JUDGMENT
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         In accordance with the orders filed during the pendency of this case, and

pursuant to Fed. R. Civ. P. 58(a), the following Judgment is hereby entered.

         The claims of the plaintiffs Elisabeth Epps, Ashlee Wedgeworth, Amanda

Blasingame, Maya Rothlein, Zachary Packard, Hollis Lyman, Stanford Smith, Cidney

Fisk, Sara Fitouri, Jacquelyn Parkins, Kelsey Taylor, Joe Deras, and Claire Sannier

against the defendant City and County of Denver, exclusive of claims arising from

curfew violations, and plaintiff Elizabeth Epps’ individual claim against former Denver

Police Department Officer Jonathan Christian, were tried before a jury of eight duly

sworn between March 7 and March 25, 2022, with Senior U.S. District Judge R. Brooke

Jackson presiding, and the jury has rendered a verdict.1 It is

         ORDERED that judgment is entered in favor of the defendants and against the

plaintiff Cidney Fisk as to all her claims, which are dismissed with prejudice. It is

         FURTHER ORDERED that judgment is entered in favor of defendants Anthony

Hamilton and Timothy Dreith and against plaintiff Joe Deras as to his First Amendment

and Fourth Amendment claims for the reasons set forth in the Court’s summary

judgment ruling of February 22, 2022 (ECF No. 298). It is

         FURTHER ORDERED that judgment is entered in favor of defendant Keith

Valentine and against plaintiff Elisabeth Epps as to her First Amendment and Fourth

Amendment claims for the reasons set forth in the Court’s summary judgment ruling of

March 1, 2022 (ECF No. 304). It is




1
  Plaintiffs’ claims against the City and County of Denver arising from curfew violations, and plaintiffs’ claims
against the City of Aurora and four individual Aurora Police Department officers were bifurcated for separate trials,
to be scheduled.
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       FURTHER ORDERED that judgment is entered in favor of the plaintiffs, Zachary

Packard; Claire Sannier, Stanford Smith, Sara Fitouri, Maya Rothlein, Amanda

Blasingame, Hollis Lyman, Joe Deras, Kelsey Taylor, Jacquelyn Parkins, and Elisabeth

Epps against defendant City and County of Denver as to those plaintiffs’ First

Amendment and Fourth Amendment claims. Judgment is entered in favor of plaintiff

Ashlee Wedgeworth against defendant City and County of Denver as to her First

Amendment claim. Judgment is entered in favor of plaintiff, Elisabeth Epps against

defendant Jonathan Christian as to her Fourth Amendment claim. It is

       FURTHER ORDERED that compensatory damages were awarded by the jury in

the amount of $3,000,000 as to plaintiff Zachary Packard; $1,000,000 as to plaintiff

Claire Sannier; $1,000,000 as to plaintiff Stanford Smith; $1,000,000 as to plaintiff Sara

Fitouri; $1,000,000 as to plaintiff Maya Rothlein; $1,000,000 as to plaintiff Amanda

Blasingame; $1,000,000 as to plaintiff Hollis Lyman; $1,000,000 as to plaintiff Joe

Deras; $1,000,000 as to plaintiff Kelsey Taylor; $1,000,000 as to plaintiff Jacquelyn

Parkins; $1,000,000 as to plaintiff Elisabeth Epps; and $750,000 as to Ashlee

Wedgeworth; and judgment in those amounts to those individuals is entered. It is

       FURTHER ORDERED that punitive damages were awarded in the amount of

$250,000 as to plaintiff Elisabeth Epps against defendant Jonathan Christian, and

judgment in that amount is entered. It is

       FURTHER ORDERED that as the prevailing party the plaintiffs are awarded

costs to be taxed by the Clerk of the Court pursuant to Fed. R. Civ. P. 54(d)(1) and

D.C.COLO.LCivR 54.1. It is
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       FURTHER ORDERED that in the discretion of the Court, attorney’s fees might be

awarded to the plaintiffs pursuant to 42 U.S.C. § 1988, and if so, in an amount to be

determined. It is

       FURTHER ORDERED that in the discretion of the Court, pre-judgment interest

might be awarded to the plaintiffs, and if so, in an amount to be determined. It is

       FURTHER ORDERED that post judgment interest will be awarded to the plaintiff

at the federal rate applicable at the time final judgment is entered. It is

       FURTHER ORDERED that this is not a final judgment, as there are claims yet to

be tried or otherwise resolved, as well as any post-trial motions, the matter of pre-

judgment interest, and the matter of attorney’s fees still to be determined.

         Dated at Denver, Colorado this 15th day of April, 2022.




                                                  FOR THE COURT:
                                                  JEFFREY P. COLWELL, CLERK

                                               By: s/ J Dynes
                                                        J DYNES
                                                        Deputy Clerk




APPROVED BY THE COURT:
  s/ R. Brooke Jackson
  Senior United States
  District Judge
